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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



              STANDING ORDER REGARDING REASSIGNED CIVIL CASES


This case has been re-assigned to the initial calendar of Judge Jeffrey I. Cummings. All previously
set status and motion hearing dates are stricken. All previously set discovery deadlines and
briefing schedules remain intact.

On or before 11/9/23, the parties shall meet and confer and shall file an Initial Joint Status Report
for Reassigned Cases in accordance with the template available on this Court's website.

For case-related questions, please contact Judge Cummings' Courtroom Deputy, Chez Chambers, at
(312) 435-6051 or chez_chambers@ilnd.uscourts.gov. All parties must be copied on any case-
related correspondence.

The Court will review the parties' joint status report and enter further orders in due course as
appropriate.




Date: 10/30/2023                                              /s/ _______________________
                                                              Jeffrey I. Cummings
                                                              United States District Judge
